-- j ; :-
 · · .• Qolun,bia.limited •lial:>ilify p~rtner~;bip; and {hrry PodeltHowarcfBerger, Greg Goldberg; John A. ••
        .~~k~:~:f!~~:!*f~~R-I~µep(the:l,l)R~GParti~s.''/fhey•aj:eCoUective~y~ thel'Parties'' ~d·••··


-~~~~~,j-~
        •. ···wHEREAs,       tlle.J)RLG.;artiesh~ve,di$puted        tlle Trideht;a1±ies' demands;. •• ••••
      . >\VHERE/\S,thePrutfos desireJosetde th~ir disp\ltes,amic~bly; ••••••• • •

 ·•- t:.:vi;t:Ei:~=~~rj!~~ii~~·i::i:1:~•;t14tr:J:·fu6~1t•••----
-·rollQ~g.Sch.J1~•nt.DRLG§hal[j)aytoTL$thetotaJSU1IlousoO,odo a¢cordingro.the·•-··
                ••••••• ·••··• •• '$225,()00sh~ll bepAid on or heforeMarch.19~20J9;.a11d·•/.·.·.

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                       ••. •DRLG sh~ll payl'LS an addjtio11al $25,000 :pefrrionth fof a tOtqi .·oftr riiontlily •.
                            pay11ients. •· · · · • •· · · • ·· ·• ·       •·      • •··· ·           ·•· ·• ·

                    •.· . . :~ I)RLG. •shall pa)' TL$.1n them~hiier designiteq. ()tl the attacl1~4 Schedule l. ,· •·



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                     >default, In th~ evehtof default, ili.e ~ntire lll1pajd baJi:i'nc,fof payments. under this ·.·... • .... •. •••



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                      • .· th~reJ~asesCand the:pr()visforts C()llC~rrting ·n,bn-'gisparage1rient and cohfid¢11tiality..•


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     . . {colJectively; "Xriden!Releasing Parties''}herebyrelease                        ana
                                                                                     forever ilischargefue DRLG ...
          •. ·Pllt'.ties ancl We I)RLQ• Affiliates <.111ci Related. Partie~, as defined in Section. TofthisAgre¢itie11t,
           • and each e>f::their pr~~ec¢ssors, sfo;c:essors, pasta:11d ptes¢rtf qwners ·~dirtv6stor~( subslclfaries, •.
    · > parent entities; l:lffiliat~s;.9fficers, directors; assigns, partners, einployee~, gge11ts, :$ervarits and
       .· ••lltt9ineys(collectiv¢ly, J'DRLG. Released Parties 11} fro many ~u1q all :claims; den;iartds, causes of
          •·. acticm; o~Hgations, datnl:lges_ariclH~bilities;. knowp ()f unknown,.si.ispected ofdaim.ed, which the, .•
      • •• Trident Releasing_ Patties, or anyqfthe111, riowOwn or hold· orhave cit anytim.e heretofore owned
       •.• ·• orhe14; against the ·oR[jG Released Patties qi @Y oftllem, exceptfor the olJligatiqns,under this

        •.· ,\greem;nt. ·• •. The.DREG.Parties release oftheTridenLParties.•. Thel)IU,G Panies, onfuefr ••••
  • ·•· •·•· qwnlieh::1lf and  on            l:>ehalfofthefr past.and preierit shwehqlµers, owners, sl1bsidiaries, parent .• .
             •••.. entities, a:ffilfates, offiGe~·s;. directqt~, . ~ssigns, partiiers, (;!rriploye~s, agents, servants and attorneys
                     {collectiyely, ,·'DRLG Releasing Parties") h¢rebyrelease and forevet:disciharge the Trident                       .
      • • Parties; a.nd e~ch of thelr•p1'.edecessgts, successors,pElstc111d presentpwnets arid investors,                        ••• .• • •. •.••.
        •.·••• , subsidi~ies, parent 'entities, affiliates, officers, d1recfqrs, :assi@.is, pcUiriers,.employees, ligeiits, .• • ·•. •·
                 . · • sfa.vants ~11cl attorneys (col1ectivi1y; ''Trident Released Pai1ies'')Jrofo anyand alLclai111s, ••· ·•.           .•.• <
           .. · clem~ds,. causes ofaction, qbligaifo11s,~aniages'an<i liabilitie,s, known Or unknown, suspected Qr·. ••
            · • claimecl; \Vhich theT)RL(,1 Releasi11gParties, qr etny ofthein, 110w 9vm or hold ot have at any ••
              . • .• time heretofore owned or held,· againstthe trident Released: Parties or any of therti, exceptJor .
       •·· . the obligationsuridfathtsAgreement ·                                 •          • •      • • • • • • •• •• • •

                       . .. . . 4.. · ·•·•·.· Mutual Covena:ntNotTo Sue. the Parties her~by agree .toJoreyer.refr~in from .. ·
   • ·•··. • C()lUillenci11g suit or asserting any clai111 or demand agajnsta:notherJ>arty ()I; any Ofits agents, ••• •. · ...
       •.• . Jepreseilfatives; .serva:nts, 9:lficers/d1rectqrs, et11ployees, predecessprs, sqccessors~. past and •. . •.           .•..•
          •..• ·.•.,:presentassigns,sharehblders, pw:e~tiqrporations, subsidiarieS,Telatecfcorporations·or.attomeys, .• .• ••
           · ·• · •·. heirs, executors; ~dinil1i§trators; su~cessors or assigii$, wheth¢f directly orindite(}tly, ancf ·• • • .• •·· ·
                                                             or
                  . . whether in tort, contract,for statutory (ldIIijnistraqve remedYor any other remedy Whatsoever; ...•
                ••••• ~isingout ofor relating•to apydaimJhat has been released underthis,Agreefuent. TheI'rident ••
     • •. • • • · Parties further covenant notJo sue thej)RLG Affiliates and Refated PaJ:ties and anythird--party
• ••••••••·. gopipany\'vithwhich theTriclentPartiesruidthe :bRLG Parties\vere involvedinyolvingany: •
           . .•. claim atisirig oufofor relati11g to ,U}Y pl'ajmJhafhas)een: rel¢~eQ undertbis Agreement, for.
          •• <e~an1ple, Wa.terfallAsset Managehierit orStifefFinan.cial Cor:p; or any of its wholly ()Wiled •.•• .
              ••••• stibsidiaries; induqing Stifel, Nicolaus.& Companf MassTortNexus, John Ra.y andBarbata •..


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       . . by any oftlienragainsrth~ Dlli,G Parties• and theJ)RLG·AffiHates and· Related Partiesi The.                    •
                •trident Parties further representtfol.1: theyai-e_awareof110 4erogatoryinf6rmatfon aboutthe ..
             ·.•.· DRLG Parties and•the DR(,(JAffiliates.•an.d R:elated.Partiesihafth'.eybelfotie,they would. be•.
          • r:equfrecl to'bel"eportedfo agoverruneritaJ(e}g;,SECorPOJ) qfquasi;.governI11ental (e;g., ·... •.. ·
              •.· f!NRA) ~md thafthey hitvenointeritipn ofn1aking ~y such reporting exceptuponrequ~sfof •·
           .• such. eriHty, •· and then-su~jectto t}iendti9e provisio11s ofSet}tionl Oof thisA.greemenf: The•·
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              .··en.tities}abouitheDRLGParties.an~JheD~GAffi'liatesanclRelatedPiµties,relatedtoany of·
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    ····•• CONFIPENTIAL •••••


• / •• th¢ mat&rsd)§cuss&l 4i~isA~el\J~llt, OXcludjngstm~ents to (h~ir •~~el $Id Q;\tansmittW ••
  • ••• between the Patties andJ-Iistorical)rifonnatfo1fijs defirieclin $et:;tion 1L ofthiiiAgreeirient. •. ·

         .         •. 6. . ..• • CapOCityahd Authority, All inruy[dua]signifig on bebi,lf of$! entity pi:rsonally •••••
   · • <. rc1pl'es~nts •~nd warrants JhatJhatjn.clividual has legaf ~apadty: and authorjfytcrb1nd the>~ntity and ••
       th~tth~ e#iity has duly authoriz~d th~ e~ecution 6ftllis t\gr~e01ent.                   • •• ••        • ••        •• • •

                      . • •7.· . ••. •lntend~dThitd Party Beneficiaries. ]lie Parties jo,endtl\al lhe following persons .•.
       •• (the IIDRLGAffilia:tes and Related Partiesi') shall 1;,e cons1deredthird,-pa:r;ty betieficiades under · ..
      . . ·. this agre.emen,t: DaHwonte:Rueb LfP, a MassaqhU$etts li111itedJfability partnership, I)alimonte •
   . . •RuehLI,P, a Califori1iaJunite<l liabHitypartrtership, Ctiria111 investments: l;LLC, Curi~ ··.
                                                               J,
      • .·•.·. · •· Inv~stmertts2,·. LL(\ ana.•cllrian,tirty¢strµerits LLC •(all .thre,e . Defc:i.ware limifed liability.·
          ... compajiy), Curiapi Capital LLC~ a Deiaw.are Lirnitecl Liability Company, CashJn Your Case
                                                                        a
              ·•· I,LC; a.NewYoi'klimitedJiability CQll}J?B.hy, .CIYCJI, Deiawar.eJimitedJiaJ:>ility company,·
              . l,egal Recov¢ry A~sociates LLC, a Nei/.Yorklim.ite,f UabiHty cotnpany, LRA. SPV, LLQ, a ....
     .··.·•·Delaware Hfnitedlia.pHity co111pany, Mas.s J'ortNex:us anci}ts principal,J6hn Ray at}d ]:Jw-bara ·.·.• . ·• • ••••
         .• ·. tapasso; a.hdany faw finnjoint ·venture partner invg~vecl with CJashJir your C~se LLC, GlYC. ll, •. •
     •• • Legal ReGovery Associates LLC(irrcluding· McSweerieyI.,angevirt DC,LLP/aD .C; limited.                            •
  ....•.• . li~bility partnership; and McSwee11ey/Lc1.11gevinLL,. a Minnesotflin1ited liability partnership),
            ·• thdr and m1y trust'created p)' oi for the benefit of H:oward Berge:r,Gr¢g Goldbei-g~ Gary Pociell and
                         family •members, .• •             .••••• . . . . • • • • • • •.            • •• .    • .         •

                 . . 8; . •... Arbitration .• In the eVent of 8ny ru!We dispute between        anY
                                                                                                0}1he Parties hereto, •
          ·. • whether rela.ted tothisAgreem.ent or110t; all Partiesliyreto ~greethat n9 Suit may be ¢Ol}ll11eticed ... •.••
     •• · •. concerning such dispute. The sole metllod of resolying a11y sucll controvetsy or clai111 shall pe
            < byarbitratfo11 ~dministe1~ed" by the A~erican Arbitration 1\ssoci~tion underits ConunerciaL . .· ·. . .• •
  •·.. · . Arbitration Rules, andju~g111entonthe .award reqd~red: by the arbifrafor(s} may qe ~nt~reciin ajly·
      • • •. . courthavingjurisdictio11;tfiereof.Ve1111e for s11charbifraJipn .shal~··b~ in the City ofNewiYpdc.·.·· •
     • •. · The arhfrr~tion proceeding, shall 1Je conciucted on a strictly confidential basis and no Party rriay
        ••.·.. disclose a11y aspect ofit, except as nec~s.sary to enforce;an awru;d oras required J:,y a regul~tory ••• • .. •·. •
      . or qµasi-regidatoryagency or judicial body, SllbjeytJhen to the notice pr<Yyisions of Sectfon 10 of
               this Agreem~rit. ·• • • •          •      •       • •• • • •                  • • •         •

               .... 9.. ··•.· • •.• .Agreement Confidential. Exceptas required.byla\V, statute,teguiation, (;()llft ••
     . ..· order,accouritantsinpreparation oftax tetums or>insurers/the J?arties shall notatany thne "
           disclpse, pfovide orreleaseto ariy personofe11titythis· Agreern~rit orits co#fonts, •                •

                    .• IQ; •.• Non-Dis6losureand•~on-Disparageme~t. tl1eTrtdent Parties ~gree notto· < •• .
        •.. disclose oi-cause to bediscidsediJLanyway, anyiriform.ationofi,dqcutn~nts relating fothe I)RLG .·
        •. ••Parties and DRLGAffiliates ~d Related Parties,jn9luding EfliY trade .secrets ofproprietru,-y • •
  .. ·. ·•• •informatiqn, that th~Tridenf PMties obtahwd while .working witlf or. prpvidiiJRservicestp tb.f · .
  • •• DRI~G Parties and the DRLGAffjliates:and <Relatecl Parties.1lte Part{es further agreefwt to •• •
      ••.• 111ak:~ any dfsparagiµg or derogatory iemtltks, ~ 1hetherfalse ortrue; ab<JUt ~fiy othei" P~Y; thefr •. • •.
            . wusinesses, their background, orJhefrservices except as required by a r~gmatory or quasi- •.•
             l'egulatory agencyor judjcial body,andthensubjedto the.pot~ceprovisions ofthis·secti<JtL·The
     ·• TridentParties' cibligation~midetthisprovision sha:11 extend tq thebRLG Parties andtheDRLG
              Affiliates ~p.dRelate~•Patties. "I'he DR.LG Parties' obligations underthis pfovision include taking


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     .•••. CONFIQENTIAL ·•·

      • all   action n¢cessarY10 ejlSUre that th.e DRI;G A/filiates and Related Parties ll)ake Mdisparaging ••••••
       • < or derogatoryten1arks, wh¢ther false or nue~. aboutthe TridentParties;                If
                                                                                          a Party re¢eives. a •
   •• • .~u1Jp9~ria or request forinf.ormatioufrom a gpve1;nmental{e.g.,SEC·o1;DOJ) qr quasi-····•·•··· • .. · • .·• ··.•. •
            •governni.~ntal (~.g._, FINRA) age11cy seekingjnfom1a,tionaboµf:anotherparty,_ the rece~ving. Party . • . ·• •·• •
     • •• shB:ll.prqmptlyprovicle11.otice to th~ StJbjectParty aboutJhe request,·providedsuch notice is          •
   • ·•·.·•pennissible under•th~Ji:J,w.•.··Jfa Paq)'receives at1i11qµfry.fro111athfrd pariyorthe.ptess.• about •
       .••• anC>ther Party covered PY this Agre~Ulent, the receiving Party shaU. Inak~·µo COIUni~nt. ••• •. • •
    . •. WITfIOUTLIMITINGTI-IEFOREOOING;·ANDfdRI>URPOSEOFEXPLAININ<}THE··
       •. INTENT OFTHISAGREEMENTA_NDTHEREASON FOR.THE PAYMENTS MADE: .•
   :· •• •. HERElJND13R,TfJETRIDENTfA.ltTJES.ACKNOWLEPGE AND AGREE THAT BY • ••
       • • ACCBPTJNGTHE. PAYME1'JTS.TFIEY WILLREMAIN ABSOLUTELY-SILENT, . . . .
          ••• PUBLICLYANDPRIV'ATELY, AJ30UT ANYAND ALL ASPECTS QFTHEDRI.,G •··. •
    • .• • . AFFILIAi'ESAND REJ:,-ATED l?;tIB.TIES exceptin respons~ to req11ests hy governmental or .· •
         •.. quasi:'.governmental entities,.and th~11~subject to the11otic.eproyisions of this section.The··_ ·
     - .Tric:lent P~rties lllay disqu~stheirj11:volvementinthfadispute in,l global}na,nher thatinnoway. . . .
 . .. -.. identifies any_ other Patty solely[or the• pttrpose ofexplainirig \\That may otherwise appear to be ...•• • •
      •.• non-activ·ityduiing ilieperiod i11 dispute. (here~fter kHistorical lnformation}'). ••• • • •

                 .11, . Jle,lrictfons on Markeiing, TheTrident Pariies covenant ari~agtee ihat they ,,au·
    ..· . • n~frefer tcrtheirrel~tionship witfrthel)RLG Patties fotputp<JS~S of marl<etingorproinotion. _· .•
      •••..• •Tlris :r~stri~tiqn.indudes apy mention of the D RLG Partie~ and the PRLQ Affiliate~ anci Related .
 .·. .. Parties by name and _anydesc1:iptipn pfprior tra11s~cti()nS tnvolving tl}e DR.I.;G Parties ahd the .•.·•
  _.·         > DRLG AffUicites ~rid Rehited Parti~s,-with the exceptio)J.ofthtfprovi~ion of Historical ·.• . . • -· •. · •. •
          • •••• Inf.ormation: Without limiting the foregoing~to fuUiUthei(obligations und~r this prov,isi6n, the: .• -
                                                                                                              or
                 Trident CompMies shall :review the cmitents ofany website th4t theymain.tain control anci - · .
         . shalLremove any mentiox1 ofthe DIUiG Patties andD RLG :Affiliates ap:d RelateciPai-ties or any •
                 descJ:iptio11of ttMsactipns involviilgthe111,    .• • - •·• • •. . · •.• • • · ·.• ••• • · .•• • ·- .. • .·

                . • 12. .• Retiirnbrnesltuction ofParties. ~eTrideritParties Sha)Lretutll 01· destro,' any
            .due dillgeripl:} materials or Qther mforn1ation received fr.orri the DRLG Parties and the DRLG •
        • Affiliates.arid m~Iated P~tties. -WithinJ 5 days of the exectitiqn of this Agreement, theTrident ••
    .. .· . Parties shaU}~suea. certificaHonfo ipcotdanbe \1/hht4e Noti9e Ptovisicfas pf this Agree111ent that··.·
     ·•· > certi:fies theJetum ordesm,iction ofJm.y ari,daU 111.aterials eoverec:Jby this section. - - •
                                                                                               f
                   ••. •·. --... •__ ••13, • .···.·Liquidated Damages. The P¥ties agreethaf damages esllltinKfrmn a breach of· _· · • •
               ... the confidentiality and noh'."dispatageme11t pr9visigns of this Agreement maybe difficllltot .• •
•. _-·.·_ . incapable ofheingasceitained or vahied. • In the everitthatth~TJ.'iderit Parti{!s breachat1y such
      ••• ·• provision, they ghalt be liable, jointly arid severally, tothe aJfected P RLQ. P~Iiies andJ)RI,,G
            .. Affiliates•at1d Related PartiesfprJiqµidated damages equal to all 1nonie$ paicl tmderthis .. • ._ . . ._
                  Agre.eme11tplu~jntetestarthe:rate QtJ8.o/oper anmn11fro1ri the d~te ofanybre11Ghto the date of
                   payment; plµsanyreascm~l)le atton1.ey'& fees incurred py the I)R:LGPartie$aI1d theDRLG .•. _-- -
                  J\.ffiliates artcl Related Parties in proving such violation, in e11fotcihgJhis Agreement, ancl iri _.·_ •
         ·. •. coUeding dainc1ges,. and the DRLG.llarties. would have no further 01:>ligatiorrto make any _· .. ·_
              •• paymentsundetthis Agreement. NoJhiiiginthis section liri).its the darnagesthatthe Trident
            •.·• Parti~s n1a)'seekfor br~ach; -_·.                  ••    • •      • •         • •                   •   •



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                  Case 5:24-cv-00031-BO-RN Document 18-3 Filed 05/28/24 Page 4,e_of 9 ···$...,•· .·•• ··•.
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                                     ··aboye~the'J:ticient·I>arti~s:agreethaftheDRLCrfart_ies•and:theDRLG.AffiHates.andR.elated·
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                  ••• •• . dispa,age111enfobligatio11s as described ab()ve. Therefoi:e, tll~Triderit Parties agree·aJ1d . ·• •...• · • ••. . •· • •
                        . · . .• acknowlecig~ th~tin addi#orr tO.thef~niedies ayailablein a,rbitration, th~ DRLG Parth~s and the .·• ·• .·•

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                                        sec11rity; ifthe Tricient Parties.breach or threi#en to breach all or.@y ofthese obligations. • ,.
                             .:..• Sim.ilarly;irt addittop. tb the r~mee:iies avaHable in arbitration, theTrident:Parties will be elititled ••. •
                               • •to fileJ(coijrt aqtfonfor appropriati ~quitable r¢lief, inclt1di11g an inJt1n9ti()n :and/ot temp9rary

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